
445 S.E.2d 29 (1994)
336 N.C. 71
Peggy S. BRYANT
v.
THALHIMER BROTHERS, INC. and Scruggs Colvin.
No. 55P94.
Supreme Court of North Carolina.
April 7, 1994.
Charles P. Roberts, III, Greensboro, for Thalhimer Bros. &amp; Colvin.
Harold L. Kennedy, III, Harvey L. Kennedy, Annie Brown Kennedy, Winston-Salem, for Bryant.
Prior report: 113 N.C.App. 1, 437 S.E.2d 519.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendants in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Plaintiff, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 7th day of April 1994."
Upon consideration of the petition filed by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th day of April 1994."
